Case 3:16-md-02738-MAS-RLS   Document 32684   Filed 06/03/24   Page 1 of 18 PageID:
                                   185635



                    UNITED STATES DISTRICT COURT
                       DISTRICT OF NEW JERSEY


    IN RE: JOHNSON & JOHNSON           MDL No. 16-2738 (MAS) (RLS)
    TALCUM POWDER PRODUCTS
    MARKETING, SALES
    PRACTICES, AND PRODUCTS
    LIABILITY LITIGATION


        THIS DOCUMENT RELATES TO ALL CASES

        PLAINTIFFS’ STEERING COMMITTEE’S OPPOSITION TO
         DEFENDANTS’ MOTION TO COMPEL INSPECTION OF
               DR. WILLIAM LONGO’S LABORATORY
Case 3:16-md-02738-MAS-RLS                     Document 32684                Filed 06/03/24           Page 2 of 18 PageID:
                                                     185636



                                            TABLE OF CONTENTS

  INTRODUCTION .....................................................................................................1

  LEGAL STANDARD ................................................................................................2

  ARGUMENT .............................................................................................................4
      1. Rule 34 does not permit observation of an expert’s work. ..............................4

      2. The inspection Defendants seek is unreasonable and exceeds
         the permissible scope of discovery. .................................................................6

           A. Defendants have no need to observe Dr. Longo work in real
              time. ............................................................................................................7

           B. The inspection and observation would be highly
              burdensome...............................................................................................10
      3. Defendants distort Dr. Longo’s prior testimony and seek to
         distract the Court............................................................................................11
  CONCLUSION ........................................................................................................14




                                                                ii
Case 3:16-md-02738-MAS-RLS                   Document 32684              Filed 06/03/24          Page 3 of 18 PageID:
                                                   185637



                                        TABLE OF AUTHORITIES


  Cases

  Belcher v. Basset Furniture Industries,
     588 F.2d 904 (4th Cir. 1978) ................................................................... 3, 6, 7, 9
  Broe v. Manns,
     2016 WL 7048988 (M.D. Pa. Dec. 5, 2016).........................................................9
  Dzielak v. Whirlpool Corp.,
     2017 WL 1034197 (D.N.J. Mar. 17, 2017) ..........................................................9
  In re Gabapentin Pat. Litig.,
      2011 WL 12516763 (D.N.J. Apr. 8, 2011) ...........................................................9
  In re Zantac (Ranitidine) Litigation,
      C.A. NO. N22C-09-101 ZAN (Del. Super. Ct. May 31, 2024) .........................10
  Mancuso v. D.R.D. Towing Co.,
    2006 WL 889383 (E.D. La. Mar. 10, 2006) .........................................................5
  McConnell v. Canadian Pacific Realty,
    280 F.R.D. 188 (M.D. Pa. 2011) ............................................................... 3, 4, 11
  National Manufacturing Co. v. Janed Enterprises, Inc.,
    2013 WL 12470870 (D.N.J. July 3, 2013) .................................................. 3, 6, 7
  Teer v. L. Eng'g & Env't Servs., Inc.,
     176 F.R.D. 206 (E.D.N.C. 1997) ..........................................................................5
  United States v. Territory of the Virgin Islands,
    280 F.R.D. 232 (D.V.I. 2012) ...........................................................................3, 7

  Rules
  Fed. R. Civ. P. 26 .............................................................................................. 3, 6, 9
  Fed. R. Civ. P. 34 .............................................................................................. 2, 4, 6

  Other Authorities
  www.mastest.com ....................................................................................................11




                                                             iii
Case 3:16-md-02738-MAS-RLS      Document 32684     Filed 06/03/24   Page 4 of 18 PageID:
                                      185638



        Plaintiffs, by and through the Plaintiffs’ Steering Committee (“PSC”), submit

  this Memorandum of Law in opposition of Defendants’ motion to compel Plaintiffs’

  expert Dr. William Longo to make his laboratory available for inspection.

                                     INTRODUCTION

        On April 18, 2024, Defendants served on Plaintiffs a Notice of Inspection to

  inspect Plaintiffs’ expert Dr. William Longo’s laboratory Materials Analytical

  Services, LLC’s (“MAS”), in conjunction with a Notice of Oral and Videotaped

  Deposition. See Notice of Inspection (attached as Exhibit A). The Notice of

  Inspection gave notice that Defendants and their experts seek to inspect multiple

  areas of the MAS laboratory and its PLM microscopes. Shockingly, it also gave

  notice that Defendants’ experts seek to—in real time—observe MAS’s methodology

  for and performance of preparing samples of Johnson’s Baby Powder as well as

  MAS’s methodology for and performance of analyzing those samples on its PLM

  equipment. On May 1, 2024, the PSC timely objected to Defendants’ Notice of

  Inspection. See PSC’s Objections to The Updated Notice of Oral and Videotaped

  Deposition of William Longo, Ph.D., Duces Tecum, Notice to Preserve and Notice

  of Inspection (attached as Exhibit B).

        The Court should deny Defendants’ motion to compel the inspection of Dr.

  Longo’s laboratory. Federal Rule of Civil Procedure 34(a)(2) does not permit parties

  to compel opposing parties’ experts to perform work and give their own experts a



                                           1
Case 3:16-md-02738-MAS-RLS      Document 32684      Filed 06/03/24   Page 5 of 18 PageID:
                                      185639



  ticket to watch. Defendants have not identified any authority indicating that Rule 34

  permits such an “inspection.” Moreover, even if the Court entertains Defendants’

  request under Rule 34, Defendants’ motion should be denied as it exceeds the scope

  of discovery under Rule 26(b) and is unreasonable.

        Defendants are distorting Dr. Longo’s prior deposition testimony to

  manufacture a reason to further harass him. Dr. Longo has clearly laid out his

  methodology and given extensive deposition testimony regarding the PLM analyses

  he performed for his expert reports. Still, Defendants seek to bully him through the

  unprecedented and highly intrusive inspection of his laboratory and by forcing him

  to redo his PLM analyses while they look over his shoulder. This is in addition to

  Defendants’ attempts to depose Dr. Longo’s own employees. See Defendants’

  Amended Notice of Intent to Serve Subpoena on MAS employee Paul Hess (attached

  as Exhibit C). Lastly, Defendants’ motion is replete with Daubert arguments that

  are not appropriate for this motion practice. The Court should reject Defendants’

  manipulative tactics and deny their motion to compel the inspection of Dr. Longo’s

  laboratory.

                                   LEGAL STANDARD

        Federal Rule of Civil Procedure 34(a)(2) allows a party to serve a request on

  a party to “permit entry onto designated land or other property possessed or

  controlled by the responding party, so that the requesting party may inspect,



                                           2
Case 3:16-md-02738-MAS-RLS         Document 32684   Filed 06/03/24   Page 6 of 18 PageID:
                                         185640



  measure, survey, photograph, test, or sample the property or any designated object

  or operation on it.” Importantly, a notice of inspection issued pursuant to Rule 34

  must comply with Rule 26(b), requiring that the discovery sought by the inspection

  be relevant to a party’s claim or defense and proportional to the needs of the case.

  See Fed. R. Civ. Pro 26(b)(1).

        But a notice of inspection to enter a premises requires even more scrutiny. In

  National Manufacturing Co. v. Janed Enterprises, Inc., 2013 WL 12470870 (D.N.J.

  July 3, 2013), the Court utilized the Fourth Circuit’s balancing approach in Belcher

  v. Basset Furniture Industries, 588 F.2d 904, 908 (4th Cir. 1978). The Belcher court

  reasoned that “[s]ince entry upon a party’s premises may entail greater burdens and

  risks than mere production of documents, a greater inquiry into the necessity for

  inspection would seem warranted,” and thus the general relevancy standard was not

  sufficient. Id. Rather, courts should balance the need for the inspection against the

  “burdens and dangers created by the inspection.” Belcher, 588 F.2d at 908; see also

  Nat’l Mfg. Co., 2013 WL 12470870 at 1. Other courts in the Third Circuit “have also

  utilized Belcher’s balancing approach when deciding whether to grant a motion to

  compel inspection of a party’s premises, using ‘reasonableness’ as a guidepost.”

  Nat’l Mfg. Co., 2013 WL 12470870 at 2 (citing McConnell v. Canadian Pacific

  Realty, 280 F.R.D. 188, 191 (M.D. Pa. 2011) and United States v. Territory of the

  Virgin Islands, 280 F.R.D. 232, 235 (D.V.I. 2012)). Ultimately, “the touchstone for



                                            3
Case 3:16-md-02738-MAS-RLS       Document 32684      Filed 06/03/24   Page 7 of 18 PageID:
                                       185641



  analysis of a Rule 34 inspection request is reasonableness.” McConnell, 280 F.R.D.

  at 191.

                                        ARGUMENT

     1. Rule 34 does not permit observation of an expert’s work.
        Defendants’ motion is impermissible under the plain meaning of Federal Rule

  of Civil Procedure 34. A party may serve a request for another party “to produce and

  permit the requesting party or its representative to inspect, copy, test or sample”

  items in the responding party’s possession. Fed. R. Civ. P. 34(a)(1) (emphasis

  added). The rule also provides that a party may request for another party “to permit

  entry onto designated land or other property . . . so that the requesting party may

  inspect, measure, survey, photograph, or sample the property or any designated

  object or operation on it.” Fed. R. Civ. P. 34(a)(2) (emphasis added). Nothing in the

  text of Rule 34(a) contemplates that a party may observe another party’s expert while

  they work. Further, the “inspection” Defendants seek goes beyond actions of the

  requesting party, and instead imposes a burden on the responding party’s expert to

  engage in testing that it otherwise would not conduct. Rule 34 permits no such

  burden.

        Moreover, the inspection Defendants seek is wholly unprecedented and

  allowing such an inspection would have serious ramifications. Defendants have not

  identified a single case where a party was permitted to require another party’s expert



                                            4
Case 3:16-md-02738-MAS-RLS      Document 32684      Filed 06/03/24   Page 8 of 18 PageID:
                                      185642



  to work while allowing their own experts to observe.1 In fact, courts have held that

  parties cannot use Rule 34 to compel the observation of another party’s experts’

  work. See Teer v. L. Eng'g & Env't Servs., Inc., 176 F.R.D. 206, 207 (E.D.N.C.

  1997); Mancuso v. D.R.D. Towing Co., 2006 WL 889383, at *3 (E.D. La. Mar. 10,

  2006). In Teer, for example, the court denied the defendant’s Rule 34 motion to

  permit it to attend, observe, and record the plaintiff’s testing, assessment, or

  corrective actions taken on its property. Teer, 176 F.R.D. at 207. The court reasoned

  that Rule 34 does not “authorize Defendant’s experts to observe Plaintiffs’ experts

  as they do their work to assess the contamination or take steps to correct it.” Id.

  (noting that “Defendants have not cited one case from any court that ever has

  permitted such a thing”). What Defendants seek here goes even a step beyond what

  the Teer court found was beyond the bounds of Rule 34. Defendants not only seek

  to observe Dr. Longo and MAS employees performing their work, but Defendants

  seek to require that they reperform work that has already been done.

        The absence of case law supporting Defendants’ position is instructive here.

  Practically, parties can always argue that observing an expert perform their work in

  real time will be relevant to the case, and will have no problem fashioning arguments


  1
    The singular case Defendants cite in support of their argument has nothing to do
  with observing experts work. Rather, LG Philips v. Tatung Co. of America concerned
  the inspection of the plants where the defendants manufactured and assembled the
  LCD panels that were the very subject of the litigation. 2005 WL 8157808, at *1
  (C.D. Cal. Jan. 11, 2005).

                                           5
Case 3:16-md-02738-MAS-RLS       Document 32684      Filed 06/03/24   Page 9 of 18 PageID:
                                       185643



  that such observation is necessary as opposed to the traditional methods utilized for

  challenging experts under Rule 702. But allowing a party’s experts to observe an

  opposing party’s experts while they work, nonetheless requiring those experts to

  duplicate their work, will have a massive chilling effect on expert witnesses and

  disrupt the established process for challenging expert testimony.

        In short, what Defendants seek—to compel Plaintiffs’ expert to redo his work

  and simultaneously be there to observe it—goes entirely beyond the bounds of

  discovery contemplated by Rule 34. The Court should deny Defendants’ motion on

  this basis alone.

     2. The inspection Defendants seek is unreasonable and exceeds the
        permissible scope of discovery.
        Even if Rule 34 allowed for Defendants experts to observe Dr. Longo or MAS

  employees performing PLM analyses (it does not), the Court should deny

  Defendants’ motion because the inspection Defendants seek is patently unreasonable

  and particularly disproportionate to the needs of the case. Not only is the inspection

  unnecessary, but it is highly burdensome to Dr. Longo and MAS. The Court should

  weigh these factors to find the inspection unreasonable. See Nat’l Mfg. Co., 2013

  WL 12470870 at 1; Belcher, 588 F.2d at 908. Additionally, the Court should deny

  Defendants’ motion because the requested inspection exceeds the permissible scope

  of discovery under Rule 26(b). See Fed. R. Civ. P. 34(a) (requests under Rule 34

  must be “within the scope of Rule 26(b)”).


                                            6
Case 3:16-md-02738-MAS-RLS        Document 32684      Filed 06/03/24   Page 10 of 18
                                  PageID: 185644



      A. Defendants have no need to observe Dr. Longo work in real time.

      Defendants argue the requested inspection is necessary because it is critical to

their defense to allow their own experts to “view the same particles of Dr. Longo at

the same time in the same lab and on the same equipment.”2 But Dr. Longo has

produced reports and provided instructions specific enough for Defendants’ experts

to replicate his testing. In his 4th Supplemental MDL Report, Analysis of Non-

Historical J&J’s Talcum Powder Consumer Product Containers and J&J Chinese

Historical Talc Retain Samples, Dr. Longo describes in detail his methodology,

including the heavy liquid separation method for preparing a sample and the analysis

performed. See 4th Supp. MDL Rpt., at pp. 3-8; 11-14 (attached as Exhibit D). The

4th Supplemental MDL Report provides an overview of numerous other analyses that

Dr. Longo and MAS have conducted of talcum powder samples. Each of those

reports have been produced in this MDL. See PSC’s November 17, 2023 letter

regarding Dr. Longo’s reports disclosed in the MDL (attached as Exhibit E). He has

also given extensive testimony regarding the same.



2
  Any attempt of Defendants to contemporaneously question Dr. Longo or any MAS
employees is not permitted. Interviews during Rule 34 inspections are “suspect” and
lack the “safeguards of true depositions.” Nat’l Mfg. Co., 2013 WL 12470870 at *3
(quoting Belcher, 588 F.2d at 910). Defendants have had full opportunity – over the
course of two days – to depose Dr. Longo. To further question Dr. Longo, they must
do so using the “normal method[] of deposing” him with all of the “burdensome
procedure mandated under Rule 30.” Id. at *3 (citing U.S. v. Territory of the Virgin
Islands, 280 F.R.D. at 237).

                                          7
Case 3:16-md-02738-MAS-RLS        Document 32684      Filed 06/03/24   Page 11 of 18
                                  PageID: 185645



      Defendants’ argument that they cannot replicate Dr. Longo’s PLM method is

simply false. For example, Defendants argue that they cannot replicate Dr. Longo’s

methodology because it is “constantly in flux,” listing certain aspects of Dr. Longo’s

PLM methodology that have changed over time. But that argument is a red herring.

Even if Dr. Longo’s methodology has been modified over the course of several

years, nothing prevents Defendants from replicating the exact methodology Dr.

Longo used in his analyses of the samples analyzed in his expert reports for this

litigation. That methodology has been clearly spelled out in his expert reports and

his deposition testimony. Moreover, Defendants’ argument that they cannot replicate

Dr. Longo’s PLM method because the samples degrade quickly is another

smokescreen. Defendants have access to aliquots of the same bottles Dr. Longo

tested. Defendants have a detailed description of the Dr. Longo’s methodology as

outlined in his expert reports and during 23 days of either deposition or trial

testimony where Dr. Longo has been cross examined on his methodology and

results. See Longo Testimony List (attached as Exhibit F); Exhibit E. Defendants

have engaged three experts with expertise in polarized light microscopy – Dr. Shu-

Chun Su, Dr. Anne Wylie and Dr. Matthew Sanchez, all of whom have served expert

reports criticizing Dr. Longo’s methodology. Yet, shockingly, to the PSC’s

knowledge, Defendants’ experts have never tested any samples from these bottles.




                                          8
Case 3:16-md-02738-MAS-RLS           Document 32684       Filed 06/03/24    Page 12 of 18
                                     PageID: 185646



       Rather, Defendants believe it appropriate to watch Dr. Longo replicate his

testing in real time because their experts disagree with his identification of color.

But what is clear – there is no need. Dr. Longo has appended to his reports color

photomicrographs of the structures he identifies as asbestos. Defendants have all the

information needed to challenge Dr. Longo’s results and indeed, they have done so

during recent trials. The request for an inspection is merely to harass, oppress, and

cause undue burden and expense to MAS and Dr. Longo.3

       If Defendants wish to challenge Dr. Longo’s identification of chrysotile

because their experts disagree about color, then Defendants should make that

argument to the jury. See Dzielak v. Whirlpool Corp., 2017 WL 1034197, at *26

(D.N.J. Mar. 17, 2017) (“What is presented here is a classic battle of the experts over

disputed facts, to be settled by the finder of fact . . . .”); In re Gabapentin Pat. Litig.,

2011 WL 12516763, at *10 (D.N.J. Apr. 8, 2011) (concluding that disagreement

between experts regarding application of a methodology presents “a battle of the

experts” to be resolved by the trier of fact); Broe v. Manns, 2016 WL 7048988, at

*4 (M.D. Pa. Dec. 5, 2016) (“Plaintiffs can challenge the expert’s conclusions

through cross-examination and the presentation of their own witnesses.”); see

generally Omnibus Order on Motions to Exclude Expert Opinions, In re Zantac


3
 Under Fed. R. Civ. P. 26(c), “[t]he court may, for good cause, issue an order to
protect a party or person from annoyance, embarrassment, oppression, or undue
burden or expense.” See also Belcher, 588 F.2d at 908.

                                             9
Case 3:16-md-02738-MAS-RLS        Document 32684      Filed 06/03/24   Page 13 of 18
                                  PageID: 185647



(Ranitidine) Litigation, C.A. NO. N22C-09-101 ZAN (Del. Super. Ct. May 31,

2024) (explaining “the distinct roles of the Court as gatekeeper and that of the jury

as the ultimate fact finder” and leaving “battles of the experts” for the jury to

resolve).

      In short, no reason exists for Defendants to require Dr. Longo to repeat his

PLM analyses while their experts observe. There is nothing keeping Defendants’

experts from examining aliquots from the same bottles of Johnson’s Baby Powder

Dr. Longo tested, replicating Dr. Longo’s methodology, and coming to their own

conclusions regarding the presence of chrysotile. To the extent that Defendants wish

to challenge Dr. Longo’s conclusions from the testing he has already done, they can

properly do so before the jury.

      B. The inspection and observation would be highly burdensome.

      Second, the practical implications of the requested inspection are highly

burdensome. Defendants seek to, over the course of multiple days, enter into Dr.

Longo’s laboratory and observe Dr. Longo and MAS technicians repeat Dr. Longo’s

PLM analyses. The preparation (up to 72 hours) and analysis of one sample (2-4

hours) can take days. See 4th Supp. MDL Report at p. 11; Longo (MDL) Dep. (May

2, 2024) at 148 (attached as Exhibit G). This would have the effect of shutting down

MAS’s operations for the duration of the inspection. MAS conducts testing for

litigants in other litigations, pharmaceutical testing, chemical analysis, children’s



                                         10
Case 3:16-md-02738-MAS-RLS         Document 32684      Filed 06/03/24    Page 14 of 18
                                   PageID: 185648



product testing, VOC emissions, environmental testing and materials failure testing,

all of which is confidential and proprietary. See www.mastest.com (accessed June

2, 2024). The litigation work is protected by the work product privilege. A multi-

day inspection for even one sample would essentially shut down the lab and cause

MAS to have to cover and/or move confidential information and displace and

impinge on the work of its scientists and technicians. Not to mention that the

intrusion of having a defense expert looking over the shoulder of Dr. Longo or

another MAS scientist while they examine a sample under the polarized light

microscope would be unduly intrusive and stressful. There is nothing “reasonable”

about the method by which Defendants’ requested inspection would occur. See

McConnell, 280 F.R.D. at 191 (the inspection demand “must specify a reasonable

time, place and manner for the examination”).

   3. Defendants distort Dr. Longo’s prior testimony and seek to distract the
      Court.

      Finally, Defendants skew Dr. Longo’s prior testimony in order to manufacture

a reason to harass Dr. Longo through an inspection of his lab. First, Defendants claim

that Dr. Longo “has repeatedly avoided answering questions about the bases for his

testing results by stating that he would have to be physically sitting at the microscope

looking at a particle live.” Motion at 9. But a few sentences taken out of context and

nitpicked out of hundreds of pages of Dr. Longo’s deposition testimony can hardly

justify the drastic measures Defendants seek here. What is more, Defendants’


                                          11
Case 3:16-md-02738-MAS-RLS        Document 32684      Filed 06/03/24   Page 15 of 18
                                  PageID: 185649



“examples” of this supposed behavior—which make up the entire basis for

Defendants’ supposed need for this inspection—are exclusively from deposition

testimony in the Valadez case. Defendants cherry-pick instances where Dr. Longo

ostensibly was shown a photomicrograph and asked questions. The full context of

the discussion is not included in the excerpt. The exhibits being referenced are not

identified nor attached to the filing. Dr. Longo gave testimony about certain aspects

of what he was seeing including the refractive indices, color both in parallel and

perpendicular. There were aspects that were difficult to see on a .pdf and Dr. Longo

testified that he was unable to make a determination about the elongation of the

structure without seeing it under a microscope because the structure was not in focus

on the image. See Doc. 32202-12 at 56. This is not evasion but a perfectly reasonable

answer considering the deposition was conducted remotely. Defendants have not

pointed to any occasion during Dr. Longo’s MDL deposition testimony where Dr.

Longo makes the same assertions.

      Further, following the Valadez case, Dr. Longo issued an expert report that

Defendants failed to mention – Comparison of RI’s and Chrysotile Structure Size

Union Carbide’s SG-210 Chrysotile Product from the Coalinga Mine in California,

Montana Talc Sourced for both Gold Bond and Clubman Body Powder, Fibrous Talc

and Reduced size NIST 1866B Chrysotile Standard, dated October 9, 2023. See

Exhibit H. In this 196 page report, Dr. Longo outlines in detail: 1) the microscope



                                         12
Case 3:16-md-02738-MAS-RLS          Document 32684    Filed 06/03/24   Page 16 of 18
                                    PageID: 185650



being used at MAS – state-of-the-art Leica DM2700P microscope with infinity lens,

LED light source, and a HD digital camera and monitor; 2) the asbestos standards

used – RG-144 and SG-210 by which to evaluate refractive indices; 3) the samples

tested; 4) tables listing the refractive indices of the structures identified; 5) an

explanation of why “yellow-gold” was appropriate; 6) an analysis of the ISO 22262-

1; 7) additional explanation of MAS’s methodology and results as to why the

structures being identified are chrysotile and not fibrous talc; and 8) and more than

175 pages of photomicrographs of the structures that serve as a basis for the report.

Defendants’ discussion of the ISO 22262-1 in their motion fails to acknowledge Dr.

Longo’s explanation of ISO 22262-1 and how that informs his findings. Nor do

Defendants acknowledge Dr. Longo’s response to arguments made by Dr. Su

criticizing Dr. Longo’s findings.

      Further, several arguments made by Defendants in their motion are irrelevant

to the issue at bar and are simply a distraction. For example, arguments concerning

the reliability of Dr. Longo’s methodology should be made in Defendants’ Rule 702

briefing, not in discovery motion practice. See, e.g., Motion at 1-3 (arguing that Dr.

Longo’s opinions are unreliable and “junk science”); id. at 14 (discussing whether

Dr. Longo’s methodology has been peer-reviewed). The PSC urges the Court to see

through Defendants’ manipulative tactics and identify Defendants’ motion for what

it is—unjustified harassment.



                                         13
Case 3:16-md-02738-MAS-RLS       Document 32684     Filed 06/03/24   Page 17 of 18
                                 PageID: 185651



                                    CONCLUSION
      For the foregoing reasons, the Court should deny Defendants’ motion to

compel inspection of Dr. Longo’s laboratory and the concurrent observation of

Dr. Longo’s PLM analyses as it is not permitted under Rule 34, or alternatively, is

unreasonable and/or exceeds the bounds of Rule 26(b).

Dated: June 3, 2024                   Respectfully submitted,

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                                        14
Case 3:16-md-02738-MAS-RLS        Document 32684      Filed 06/03/24    Page 18 of 18
                                  PageID: 185652



                         CERTIFICATE OF SERVICE

      I hereby certify that on June 3, 2024, I electronically filed the foregoing

document with the Clerk of the Court using the CM/ECF system which will send

notification of such filing to the CM/ECF participants registered to receive services

in this MDL.

                                       Respectfully submitted,

                                       /s/ P. Leigh O’Dell
                                       P. Leigh O’Dell




                                         15
